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 1                IN THE UNITED STATES DISTRICT COURT

 2                    FOR THE DISTRICT OF MARYLAND

 3                          SOUTHERN DIVISION

 4    SCOTTSDALE CAPITAL ADVISORS         )
      CORPORATION, et al.,                ) CIVIL ACTION
 5                                        ) NO. DKC-16-0860
                  Plaintiffs,             )
 6                                        )
      v.                                  )
 7                                        )
      FINANCIAL INDUSTRY REGULATORY       )
 8    AUTHORITY, INC.,                    )
                                          )
 9                Defendant.              )

10              TRANSCRIPT OF PROCEEDINGS - MOTIONS HEARING
                 BEFORE THE HONORABLE DEBORAH K. CHASANOW,
11                  UNITED STATES DISTRICT SENIOR JUDGE
                     TUESDAY, APRIL 26, 2016; 9:30 A.M.
12                           GREENBELT, MARYLAND

13    FOR THE PLAINTIFFS:

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        ***COMPUTER-AIDED TRANSCRIPTION OF STENOTYPE NOTES***
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 1    APPEARANCES (Continued):

 2    FOR THE SECURITIES AND EXCHANGE COMMISSION:

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 1               THE COURT:      Good morning.

 2           (Counsel reply, "Good morning, Your Honor.")

 3               THE COURT:      Please be seated.

 4               THE DEPUTY CLERK:        The matter now pending

 5    before the Court is Civil Action No. DKC-16-860,

 6    Scottsdale Capital Advisors Corporation, et al. vs.

 7    Financial Industry Regulatory Authority, Inc.

 8           The matter now comes before the Court for a motions

 9    hearing.

10           Counsel, please identify yourselves for the record.

11               MR. HARNISCH:        Kevin Harnisch of Norton Rose

12    Fulbright for the Plaintiffs.

13               MR. MOUNTZ:      Timothy Mountz and Terri Reicher

14    for Defendant FINRA, Your Honor.

15               MR. FREDA:      And Dominick Freda and Martin

16    Totaro for the Securities and Exchange Commission.

17               THE COURT:      Okay.    Very good.      All right.   I

18    have received and read the papers filed by the parties,

19    beginning with, of course, the complaint, plaintiffs'

20    motion for preliminary injunction, the motion to dismiss

21    filed by FINRA, the amicus brief by the SEC, and then

22    the reply from the plaintiffs.

23           Is that everything that I should have received in

24    writing, I hope?       Right?

25               MR. MOUNTZ:      Yes, Your Honor.
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 1               MR. HARNISCH:         Yes.

 2               MR. MOUNTZ:      It is, Your Honor.

 3               THE COURT:      Okay.        All right.   Mr. Harnisch.

 4               MR. HARNISCH:         Great.     Thank you, Your Honor.

 5           This is a case of first impression concerning

 6    whether FINRA can enforce alleged violations of, excuse

 7    me, violations of the Securities Act of 1933.

 8               THE COURT:      Can you tell me what your cause of

 9    action is?

10               MR. HARNISCH:         Sure.     Our cause of action is

11    that FINRA, in contravention of its statutory authority,

12    which was given to them in the Securities Exchange Act

13    in 1934, under Sections 15A and 19(g), filed a

14    disciplinary proceeding --

15               THE COURT:      No.     I know the facts and I know

16    what your complaint says.           It's a complaint for the

17    injunctive and declaratory relief.

18               MR. HARNISCH:         Correct.

19               THE COURT:      And I know what the basis for your

20    assertion of jurisdiction is, federal question

21    jurisdiction.      And I am asking in between.           What is the

22    claim?    What right of action, what cause of action are

23    we dealing with here?         Is there a claim?

24               MR. HARNISCH:         Sure.     The cause of action is

25    that FINRA has filed an ultra vires proceeding against
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 1    our client in contravention of the mandates of the

 2    Securities and Exchange Act.

 3               THE COURT:      I am not communicating very well.

 4           So, you claim to have a statutory cause of action

 5    under what provision of the federal code?

 6               MR. HARNISCH:       It's a federal question.

 7               THE COURT:      Yeah.     Based on what statute?

 8               MR. HARNISCH:       Based on -- hang on here.         I

 9    don't have my notes right in front of me.                But under --

10    under the provisions of the Exchange Act --

11               THE COURT:      Right.

12               MR. HARNISCH: -- that authorize FINRA to act

13    against our clients and other broker-dealers, it has

14    violated those provisions.

15               THE COURT:      And does that provision give you a

16    private right of action to sue FINRA?

17               MR. HARNISCH:       Well, it certainly gives us a

18    right of action to enjoin to seek an injunction.

19               THE WITNESS:       Well, an injunction is a remedy.

20    It's not a cause of action.            It's like damages.

21               MR. HARNISCH:       Sure.     There have been --

22    certainly, there have been plenty of cases --

23               THE COURT:      All raising constitutional

24    objections, not statutory.

25               MR. HARNISCH:       No.     No.   Not true.
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 1               THE COURT:      Which one?

 2               MR. HARNISCH:       The Second Circuit, Touche Ross,

 3    the plaintiffs there --

 4               THE COURT:      Was it raised as to whether they

 5    stated a cause of action?

 6               MR. HARNISCH:       I'm sorry?

 7               THE COURT:      Was it stated whether they raised a

 8    cause of action?

 9               MR. HARNISCH:       The cause of action was that a

10    disciplinary proceeding filed against them by the

11    Securities and Exchange Commission alleging that they

12    engaged in improper professional conduct was beyond --

13    that the rule by which the SEC was proceeding exceeded

14    their authority under the Securities and Exchange Act,

15    and, therefore, plaintiffs in that case sought an

16    injunction prohibiting that disciplinary proceeding

17    initiated by the SEC from going forward, and the Courts

18    permitted that injunctive proceeding.

19               THE COURT:      Is there a Supreme Court case that

20    was not a constitutionally-based claim?

21               MR. HARNISCH:       Off the top of my head, the

22    closest Supreme Court case that comes to mind is Free

23    Enterprise, which we briefed, where the -- where the

24    issue there was the plaintiffs in that case said that

25    the Public Company Accounting Oversight Board, it did
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 1    not have -- well, it was unconstitutional, that it -- it

 2    did not have the authority to exist, and so that any

 3    claims it was bringing or contemplated to bring, by

 4    definition, were improper and could not stand because

 5    the agency, itself, could not exist.

 6               THE COURT:      All right.      Well, go ahead.      I am

 7    not sure I agree that you have stated a cause of action,

 8    but even if you have, they challenge whether I have

 9    jurisdiction to hear it.

10               MR. HARNISCH:       Well, with the -- with the

11    jurisdiction, Your Honor, under, whether you are looking

12    at principles of exhaustion, which apply within the --

13    within the Fourth Circuit and numerous sister circuits,

14    or whether you are looking at the channelling type of

15    case, cases under Thunder Basin and its progeny, it's

16    all very clear that if there is a violation, a clear

17    violation of the statute, that the federal district

18    courts retain jurisdiction to hear challenges to the

19    suit going forward, which is exactly what we are dealing

20    with here.

21           The issue we are dealing with is whether is there a

22    clear -- is there a clear violation of the statute, of

23    the Exchange Act by what FINRA is doing in terms of

24    bringing this disciplinary proceeding?

25               THE COURT:      Okay.    This proceeding involves
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 1    more than that single charge.           Is that correct?        There

 2    are two others?

 3               MR. HARNISCH:       Well, the two other charges, as

 4    we mention in our reply brief, are also premised upon

 5    alleged violations of Section 5, and we can point out

 6    the relevant aspects in the complaint where the charges

 7    make that clear.       It's all derivative from Section 5.

 8           There is the allegation of primary violations of

 9    Section 5, and then the failure to supervise allegations

10    are directly premised on Section 5.             And they are

11    alleging failures to supervise to ensure that there was

12    compliance with Section 5, or failure to have controls

13    in place to ensure ongoing compliance with Section 5.

14               THE COURT:      Okay.

15               MR. HARNISCH:       And, so, under the Exchange Act,

16    as we have laid out in our briefs, Congress gave certain

17    distinct, expressed grants of authority to FINRA, to

18    self-regulatory organizations and registered securities

19    associations, which FINRA is -- is both, and to the

20    Securities and Exchange Commission.             FINRA is a creature

21    of statute; therefore, its powers to act are what --

22    based upon what's been expressly granted to them, or

23    arise by necessary implication.

24           In 15A of the Exchange Act, as you have read in the

25    briefs, Congress said that FINRA has the power to
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 1    prosecute violations against broker-dealers of the

 2    Exchange Act and its own rules, the SRO's own rules.

 3    The Exchange Act goes on to say that with respect to the

 4    SRO's own rules, those rules can't stretch beyond or

 5    touch upon Acts, and it goes beyond the purposes of this

 6    Act, meaning the Exchange Act.           Of course, that makes

 7    perfect sense because a regulator can't pass rules that

 8    would effectively give itself authority beyond the scope

 9    of its enabling legislation.

10           In contrast to the authority given to

11    self-regulatory organizations like FINRA, in Section

12    19(h), Congress gave authority to the SEC to also

13    prosecute and sanction broker-dealers and their

14    associated persons.        And if you look at how that

15    particular statute gives authority to the SEC to bring

16    those types of sanctions, it not only lists the -- the

17    Exchange Act, it goes on to list a number of the other

18    statutes that comprise the federal securities laws,

19    including the Securities Act, and there are certainly

20    others.

21           So, the grant of authority is very stark.                And, of

22    course, under basic principles of statutory

23    construction, which the Supreme Court has endorsed, one

24    has to presume that when Congress chose to use language

25    in one portion of a statute and used different language
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 1    or decided not to use similar language in another

 2    portion of the statute, there is a reason for doing so.

 3    And that must be -- that must be respected.

 4           And this isn't a novel issue.           It's not a new

 5    issue.     It's not a controversial issue in that there is

 6    a similar case that is rather instructive here, we think

 7    it's rather instructive, the Second Circuit's case in

 8    Fiero Brothers dealt with a very similar issue.                  In that

 9    case, the question was whether a Court could enforce

10    payment of a fine that FINRA had obtained against one of

11    its members.

12           In the Fiero Brothers case, the broker-dealer there

13    said, No, FINRA, you cannot seek Court assistance or

14    Court order making us pay these fines to FINRA.

15           FINRA, not surprisingly, said, Well, that can't

16    possibly be the case; that doesn't make any sense.                  But

17    what the Second Circuit said is that if you look at the

18    language in the Exchange Act, I think it's Section 27 in

19    that particular case, it said that the SEC -- Congress

20    granted the SEC exclusive authority to go to court to

21    seek enforcement of payment of fines.

22           The Court went on to say, There was no similar

23    grant of authority to FINRA, and, therefore, that

24    silence by Congress must be respected.              It certainly

25    knew how to grant authority.           It had addressed the
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 1    collection of fines against broker-dealers.                It granted

 2    that authority to the SEC, was silent with respect to

 3    FINRA; therefore, FINRA did not have the ability to go

 4    to court and seek enforcement.            That's the same type of

 5    issue that we are dealing with here.

 6           Congress explicitly said that with respect to the

 7    Securities Act in 1933, it is the SEC that has

 8    jurisdiction to sanction broker-dealers and their

 9    personnel with respect to violations of the '33 Act.

10           It gave jurisdiction over certain portions of the

11    federal securities laws to FINRA.             It chose not to

12    include the Securities Act of '33 or other portions of

13    the federal securities laws so to essentially hold that

14    FINRA could pass a rule saying we -- we may sanction

15    broker-dealers for unethical conduct, and that gives us

16    license to go into all of the various securities laws,

17    including those that were put in the exclusive -- excuse

18    me -- exclusive jurisdiction of the SEC.               It just makes

19    a complete end run around Congress' explicit delegation

20    of authority as between those two agencies.

21                THE COURT:     Do you wish to address any of the

22    arguments made by the other side?

23                MR. HARNISCH:      Sure.

24                THE COURT:     You don't even mention Bennett vs.

25    SEC, a recent decision by Judge Grimm of this Court, in
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 1    your reply.

 2                MR. HARNISCH:      We don't mention it and we may

 3    not mention it in reply.          We certainly went into it in

 4    some detail in our opening brief, but Bennett, like some

 5    of the other cases that were seeking stays of SEC

 6    administrative -- administrative forum actions alleging

 7    constitutional violations, it's really fundamentally

 8    different from the issue that we are dealing with here

 9    for the following reason:          In Bennett, in those similar

10    types of cases, the Exchange Act explicitly gives the

11    SEC authority to bring charges in an administrative

12    forum before its administrative law judges.                That part

13    existed in the statute.          There is no question about

14    that.

15                THE COURT:     And their argument was the statute

16    was unconstitutional because of the appointment

17    mechanism.

18                MR. HARNISCH:      Sure.    Their argument was, in

19    this particular case, while there may be authority to

20    file those charges, that filing the charges against

21    those particular defendants raised other constitutional

22    issues, including, in that case and others, that the

23    administrative law judges who were presiding over the

24    hearing were not properly appointed, and, therefore,

25    shouldn't be hearing -- shouldn't be hearing those
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 1    claims, those particular judges shouldn't be hearing

 2    those claims in the first instance.

 3           What was never in contention is whether the

 4    Exchange Act authorized the SEC to file charges in the

 5    administrative forum.

 6           Here, this is fundamentally different.              What we

 7    point out is that there is no grant of authority here to

 8    FINRA to bring the types of charges they have leveled

 9    against our clients in the first instance.               They never

10    get out of the gate.

11           In Bennett and the similar types of cases, there is

12    authority to file charges.           The question is, as those

13    charges are filed, does that implicate other

14    constitutional or other issues?

15                THE COURT:     Okay.

16                MR. HARNISCH:      This is void -- void in the

17    first instance.       And as various Courts have held, when

18    you are -- when you are dealing with an ultra vires

19    proceeding, that when you are forced to go through that

20    particular hearing, and you can look at Touche Ross in

21    the Second Circuit as an example, here in Maryland,

22    District of Maryland, you can look at Morgan Keegan as

23    an example, which we put in our brief, Continental Can

24    in the Seventh Circuit, but, also, when you are dealing

25    with a case for which there is no authority to file in
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 1    the first instance, being subjected to go through the

 2    hearing and then be forced into that administrative

 3    review scheme, that's per se irreparable harm.                   You

 4    can't turn back the clock.           Being subjected to that --

 5    that ultra vires proceeding is a completed harm once you

 6    go through the proceeding itself.

 7           Now, with respect to -- with respect to the

 8    channelling arguments, certainly there is -- there is no

 9    question that the Exchange Act has built within it an

10    appellate review scheme for claims that are authorized

11    and properly into the administrative forum in the first

12    instance.      That's certainly not, as we say, what is the

13    case here.

14           Within the Thunder Basin line of cases, they do say

15    that the existence of that type of review scheme is not

16    enough to say that all potential claims filed by that

17    particular agency have to be funneled through that

18    review scheme.

19           They say, Federal District Courts retain

20    jurisdiction unless, unless you can demonstrate an

21    intent that the claims at issue, the very claims at

22    issue, claims specific analysis, there needs to be an

23    intent by Congress that the particular claims be

24    funneled through that particular review scheme for the

25    reasons we are discussing with respect to the disparate
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 1    grants of authority in 15A and 19(h) as between FINRA

 2    and the SEC.      Far from finding an intent that Congress

 3    meant for all FINRA actions or SRO actions to go through

 4    the administrative review scheme.

 5           They actually come to the opposite conclusion, that

 6    FINRA was very clear in its grant of authority, that

 7    when it comes to claims pertaining to the -- excuse me

 8    -- pertaining to the Securities Act, that FINRA has no

 9    authority to file them in the first instance.

10    Therefore, you can't reconcile that with the notion that

11    somehow Congress must have intended that claims that

12    FINRA has no authority to bring should, nevertheless, be

13    part of the administrative review scheme.

14           And that conclusion is consistent with a long lines

15    of cases, including in the Fourth Circuit, that pertain

16    to exceptions from exhaustion of administrative

17    remedies.

18           What those cases say, through the Fourth Circuit

19    and others, where you are dealing with an issue of

20    statutory construction and the harm of going through the

21    administrative process would be irreparable, then you do

22    have an exception to having to exhaust.

23           Here, we certainly have an issue of statutory

24    construction.       That much is clear.        And as I just

25    mentioned a few moments ago with citing the other
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 1    specific cases, being forced to endure a proceeding,

 2    which is unauthorized or ultra vires in the first

 3    instance, is, by definition, irreparable harm that can't

 4    be undone.

 5           So, we squarely fit within, if we can apply a

 6    Thunder Basin type of analysis or the traditional

 7    exhaustion type of principles, it doesn't really matter

 8    in our instance because we fall squarely within those

 9    particular exceptions.         So that if you can look at the

10    Exchange Act and reach the conclusion that it's clear

11    that with respect to the grants of authority, there was

12    a reason for limiting -- limiting, in 15A,

13    self-regulatory organizations to the Exchange Act and

14    its rules, and then specifying for the SEC that it gets

15    not only the Exchange Act but the other provisions of

16    the federal securities laws, if you look at that and

17    say, there was a reason Congress did that, then the

18    answer is clear, both for our statutory interpretation

19    question and with respect to the exhaustion-related

20    issues, all of those questions fall into place.                  Leaves

21    you jurisdiction to rule on the matter and to enter an

22    order in favor of our clients.

23                THE COURT:     Thank you.

24           Mr. Mountz.

25                MR. MOUNTZ:      May it please the Court, counsel.
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 1    The Court is absolutely correct to consider the motion

 2    to dismiss as the threshold issue in this proceeding.

 3    It is a -- it is jurisdictional, and because that motion

 4    should be granted, the injunction request becomes moot.

 5           Of course, under the law, the plaintiffs have the

 6    burden to establish jurisdiction in this Court for the

 7    cause of action that they seek to bring.

 8                THE COURT:     How would you describe what their

 9    cause of action is?

10                MR. MOUNTZ:      Well, Your Honor, I suppose that I

11    would say perhaps it is -- certainly they are seeking a

12    declaratory judgment and -- but the declaratory judgment

13    that they are seeking, as described in paragraph 54 of

14    their complaint, under -- under Section 2201 of the

15    Judicial Code, they seek a declaratory judgment that the

16    disciplinary proceeding that has been brought by FINRA

17    against them may not lawfully continue.

18           But you will see they also ask for a declaratory

19    judgment that FINRA lacks statutory authority under the

20    Exchange Act to bring any disciplinary proceedings

21    against any persons, member, firms, other associated

22    persons, as they say, they describe it, predicated on

23    alleged violations of the Securities Act.

24           So, of course, the -- Your Honor, the cases are

25    legion, that there is no private right of action that
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 1    can be brought by FINRA members and their associated

 2    persons against FINRA.         That is very well established at

 3    this point in time.        But just reading the allegations of

 4    the complaint, I see -- I see the allegation there

 5    seeking fairly broad declaratory judgment, declaratory

 6    relief.

 7                THE COURT:     I guess my question -- and I don't

 8    know that it's going to be critical given where I think

 9    I am going -- it says, In a case of actual controversy

10    within its jurisdiction, that's the first phrase, the

11    introductory phrase to the Declaratory Judgment Act,

12    Section 2201, it doesn't create a cause of action.               You

13    have to have an underlying cause of action.

14                MR. MOUNTZ:      Exactly, Your Honor.

15                THE COURT:     And that's what I am grappling with

16    trying to find out.        Now, I have read some of these

17    other cases dealing with constitutional issues and --

18    that there may be a different approach, but this, as I

19    understand it, is a statutory complaint here, not a

20    constitutional.

21                MR. MOUNTZ:      Exactly, Your Honor, although it

22    wouldn't make any difference, I think, under the case

23    law, whether it was statutory or constitutional, perhaps

24    raises some different issues, but I want to address that

25    in a minute.
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 1                THE COURT:     Well, you do have certain -- there

 2    are certain actions under the constitution.                If you

 3    claim there is a constitutional violation, there may be

 4    a right to bring a claim against whoever is violating

 5    the constitution.        I mean, Bivens type thing.

 6                MR. MOUNTZ:      Agreed.

 7                THE COURT:     Which doesn't necessarily exist for

 8    a statutory violation.

 9                MR. MOUNTZ:      Exactly.     And, of course, here,

10    the Court doesn't even have to consider any

11    constitutional challenge because there isn't any.                   That

12    -- that is perfectly clear on the allegations of the

13    complaint and the state of this record.              There is no

14    constitutional challenge that's being -- that's being

15    raised here by these plaintiffs.

16            Your Honor, the facts relating to the underlying

17    proceeding are really completely undisputed.                They are

18    in the papers.       I am not going to go through them in any

19    detail.     But, of course, this does relate to an ongoing,

20    pending FINRA disciplinary proceeding that was filed in

21    May of 2015.      It's currently set for hearing in June of

22    2016.

23            The allegations in that proceeding, Your Honor, are

24    that the plaintiffs violated FINRA rules requiring its

25    members to observe the, quote, highest standards of
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 1    commercial honor, close quote, and, quote, just and

 2    equitable principles of trade, close quote, based on

 3    their alleged conduct in selling millions of shares of

 4    unregistered penny stock through a Cayman Islands

 5    entity.

 6           Now, the language that are at issue in the

 7    underlying disciplinary proceeding very closely track

 8    the statutory language of the Exchange Act and that

 9    Section 15A(b)(6) of the Exchange Act.

10           But I think it's an important point, Your Honor,

11    that the plaintiffs say, well, FINRA is acting outside

12    of its statutory authority by regulating conduct

13    pursuant to the Securities Act of 1933.              This proceeding

14    is based on alleged violations of FINRA rules.                   And,

15    granted, the underlying predicate conduct relates to the

16    sale of unregistered stock, but this proceeding relates

17    to -- this proceeding relates to the application of

18    FINRA's rules, and as -- and this is an area in which

19    there have been many disciplinary proceedings over the

20    years brought on the basis of the same underlying

21    conduct.     Many of those have gone to the SEC for review

22    as part of the process.          Many of them have ended up in

23    the United States Court of Appeals pursuant to the

24    Exchange Act's exclusive review scheme.

25           So, you know, with all due respect, Your Honor,
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 1    this is portrayed as such a new and novel issue and a

 2    clean slate that the Court is urged to write upon, and,

 3    in fact, this is a very well trident path both in terms

 4    of the nature of the underlying disciplinary proceeding,

 5    the sanctions that are being sought, and the process to

 6    which under the Exchange Act that is implicated by this

 7    -- by this proceeding.

 8           I know the Court is aware of the detailed structure

 9    of the administrative and judicial review processes of

10    the Exchange Act.        They are laid out in the briefs and

11    there are lots of cases in this area, and I am not going

12    to go through them step-by-step.            I just want to

13    emphasize a couple of steps in that process that I think

14    are very important here.

15           One is, and -- and this actually, I believe, is

16    perhaps highlighted in the SEC's amicus brief before the

17    Court, but when FINRA's decision is reviewed by the

18    Commission, the SEC makes a de novo determination that

19    FINRA's decision was in accordance with FINRA's rules

20    and whether those rules are or were applied in a manner

21    consistent with the purposes of the Exchange Act.                And

22    that is one of the determinations that the Commission is

23    required to make under the -- under the statute.

24           The next step of the review, of course, is in the

25    Court of Appeals and the judicial review process, and
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 1    that process, as the Court is aware, in the language of

 2    the statute becomes exclusive once the record is filed

 3    in the Court of Appeals.

 4           Now, as the Court I think is also well aware at

 5    this point, there are -- there are, I think, two

 6    analytical approaches that the Courts have taken to

 7    these types of cases.

 8           Traditionally, these types of peremptory

 9    challenges, where respondents in underlying disciplinary

10    proceedings or sometimes other agency proceedings have

11    come to court seeking an injunction to stop the

12    proceeding from going forward, traditionally, in our

13    cases, Your Honor, the Courts have analyzed those in

14    terms of exhaustion of administrative remedies.                  And

15    there is a long line of cases going back literally

16    decades, which we have cited to the Court, with

17    apologies for the string cites, but the Courts, over

18    time and over history, have typically analyzed that

19    issue and -- and -- where someone seeks to enjoin FINRA

20    or NASD proceedings -- of course, FINRA was the NASD

21    before 2007 -- in that context of exhaustion.

22           Now, other cases, some of the more recent cases,

23    and I suppose kind of going from certainly actually

24    beginning before Thunder Basin, but certainly continuing

25    forward from the Supreme Court's decision in Thunder
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 1    Basin, have framed the issue as to whether the statutory

 2    scheme prevents the District Courts from exercising

 3    subject matter jurisdiction.

 4           But the approach, Your Honor, under either is

 5    exactly the same.        The outcome is identical.          The

 6    District Court has no jurisdiction and the proceeding is

 7    required to be dismissed.

 8           Now, under the Exhaustion Doctrine, the Courts that

 9    have considered the comprehensive nature of the review

10    scheme that is set forth in great detail in the Exchange

11    Act, many cases, many federal appellate court cases have

12    held that the Doctrine of Exhaustion should be applied

13    to prevent the circumvention of those procedures.

14           The Swirsky case; the First Jersey case I suppose

15    was a seminal case, Your Honor, in which mandamus

16    actually was issued by the Circuit Court requiring the

17    District Court to dismiss the case; Merrill Lynch vs.

18    NASD in the Fifth Circuit; Peterson case in this

19    District, the federal courts have, I think it's fair to

20    say, uniformly held that the exclusive review

21    requirements of federal securities laws apply to FINRA

22    and NASD disciplinary proceedings.

23           Now, there are some exceptions to that Doctrine,

24    and there is -- the parties have briefed those

25    exceptions in our filings and so I don't intend to go
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 1    into those in any real detail, Your Honor -- but I think

 2    what is -- the reason being that there is no Court that

 3    -- that we are aware of, there is no published opinion

 4    by any Court that has ever found that -- that has

 5    applied one of those enumerated exceptions, however they

 6    are defined, and sometimes it's a little bit of there

 7    has been some shifting sand in terms of how the

 8    exceptions are defined to actually stay a FINRA

 9    disciplinary proceeding, and this case is no different.

10    It involves the interpretation of a FINRA rule.

11           The plaintiff -- the plaintiffs, who are the

12    respondents in that underlying proceeding, have raised a

13    statutory challenge as a defense.             They have already

14    raised it in the FINRA proceeding, presumably.                   If they

15    are unsuccessful in that proceeding, in other words, if

16    they are found to have violated the rule and sanctions

17    are imposed at FINRA, then the -- then, presumably, they

18    will also raise that before the SEC and also have the

19    opportunity to raise that before a United States Court

20    of Appeals of their choosing.           Probably not in this

21    district, Your Honor, because it will either be in the

22    District of Columbia district or in the district in

23    which the plaintiffs and respondents reside; of course,

24    none of them reside here in Maryland.

25                THE COURT:     Right.     I understand we are here
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 1    because of a mistake as to where your headquarters are.

 2                MR. MOUNTZ:      That --

 3                THE COURT:     Which nobody has challenged venue,

 4    so we are here.

 5                MR. MOUNTZ:      Correct, Your Honor, and we did

 6    not do so.

 7           Your Honor, with respect to -- I just also want to

 8    briefly address kind of the Thunder Basin line of cases

 9    because it's interesting to me that the plaintiffs seem

10    to rely so extensively on Thunder Basin as if that is an

11    exception to the process, or it yields a different

12    result from.      But, actually, as the Court is well aware,

13    Thunder Basin required the plaintiffs in that case to

14    pursue their claims through the administrative process,

15    although they were dealing with a different federal

16    statute.     It wasn't the Securities Exchange Act.              But it

17    was very similar in that it went through an

18    administrative process where a specialized commission,

19    with expertise in mine safety issues, first considered

20    the challenge, and then it would go to a United States

21    Court of Appeals.

22           And -- and the Court, in Thunder Basin, found, in

23    fact, I don't think they really had any difficulty

24    finding, that that was -- that the -- the issues in that

25    case, which involved issues of statutory interpretation
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 1    under the Federal Mine Safety Act, should be addressed

 2    through the administrative and judicial review process,

 3    and that certainly that was the type of claim that

 4    should be addressed through that process.

 5           Now, notably, Your Honor, there have been several

 6    cases that have applied Thunder Basin in the context of

 7    challenges to NASD or FINRA proceedings, which we have

 8    also cited to the Court.          Those are the Hayden decision,

 9    the -- the -- the Pyramid Financial decision.                And --

10    and they have uniformly held that those types of

11    challenges to FINRA proceedings should go through the

12    administrative and judicial review statutory process.

13           So, this is not a Free Enterprise Fund case, Your

14    Honor.     In fact, this could not be further from Free

15    Enterprise Fund.        In that case, Your Honor, the

16    plaintiffs were put in a position where they had to

17    incur a sanction in order to raise the issues they

18    wanted to raise.        As the Court said, they had to deduct

19    the farm, and they had to pick which rule they wanted to

20    challenge out of a process where they couldn't challenge

21    all of them, they just had to challenge one, and they

22    could only challenge new rules, they couldn't challenge

23    existing rules.

24           Here, these plaintiffs are in a pending proceeding.

25    They have raised this challenge in that proceeding, and
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 1    they have the right to continue to raise that defense to

 2    their interpretation of FINRA's rules, and any other

 3    defenses they choose to raise, Your Honor, because this

 4    issue could become moot by the time it goes through the

 5    administrative and possibly even the judicial review

 6    process, so -- and that is one of their defenses to the

 7    underlying proceeding.

 8           So, I realize we are not talking about

 9    constitutional claims here, as we were talking about a

10    moment ago, Your Honor, but I want to make it -- I just

11    want to make the point that this could not be further

12    from a Free Enterprise Fund type of situation in which

13    the Court did determine that -- that the challengers did

14    not have to go through the statutory process.

15           The -- these are precisely the types of claims that

16    Congress would intend to go through the process.

17           Your Honor, their argument is:            We have no business

18    -- we have no business trying to enforce our rules based

19    on the underlying predicate conduct, and they say that

20    only the SEC has the right to do that, so we are

21    impinging unlawfully on the SEC's authority, presumably,

22    under the plaintiffs' argument.

23           Well, if that is the case, Your Honor, presumably,

24    the views of the SEC -- although, in our view, they have

25    -- the SEC has already spoken on this issue -- there are
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 1    SEC decisions which affirm FINRA's right to institute

 2    these exact same type of proceedings, which we have

 3    cited in our briefing.

 4           But let's say that this -- let's say there weren't

 5    any decisions in this area, Your Honor, well,

 6    presumably, this is the sort of thing that the SEC would

 7    -- ought to have the opportunity to consider and to --

 8    and to issue a decision on, which could then be subject

 9    to review by a United States Court of Appeals if there

10    are any bona fide statutory legal challenges that exist

11    at that point.

12           Your Honor, the other case that I mentioned -- that

13    I didn't mention in describing the challenges to FINRA

14    proceedings that have come up since Thunder Basin is, of

15    course, the Schwab case.          And the -- the larger point

16    here, I think, is that the plaintiffs, in these types of

17    challenges, they always say that FINRA has exceeded its

18    authority in some way, shape, or form.              I mean, with all

19    due respect, that is always the argument.

20           In Schwab, they said that FINRA had exceeded its

21    authority because we were trampling on their

22    constitutional rights under Supreme Court decisions

23    involving application of arbitration agreements under

24    the Federal Arbitration Act.           So, there, they said that

25    the Supreme Court authority, we were acting outside of
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 1    Supreme Court authority.

 2           In -- in Hayden, they invoked another federal

 3    statute of limitations, and they said, well, FINRA is

 4    seeking to go back 15 years and this federal statute of

 5    limitations only allows -- is a five-year statute, so

 6    it's clearly in excess of statutory authority for FINRA

 7    to do that.      Again, that -- there was no jurisdiction to

 8    that challenge, and the Court -- the case had to go

 9    through the administrative review process.

10           In Pyramid Financial, the respondent claimed that

11    FINRA's application of the net capital rule exceeded its

12    authority.

13           So, again, with respect, Your Honor, there is not

14    anything about plaintiffs' claims here that are

15    inherently new or novel or -- or unique.               And it is --

16    it is difficult for me to even understand how it can be

17    alleged that an agency or an entity such as FINRA is

18    acting in brazen defiance of some of -- of some

19    statutory authority or committing a clear and

20    unambiguous violation of statutory authority where it is

21    -- where -- where the underlying conduct has been the

22    subject of numerous disciplinary proceedings and a long

23    string of written decisions from the SEC and the Courts

24    of Appeals over the course of quite a number of years.

25           So, for those reasons, Your Honor, and the reasons
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 1    set forth in our briefing, as well as the SEC's amicus

 2    brief, we request that FINRA's motion to dismiss be

 3    granted.     FINRA's -- the plaintiffs' defense to FINRA's

 4    interpretation of its rules in the underlying proceeding

 5    has already been raised in that proceeding, and it can

 6    be considered further by the SEC and the Court of

 7    Appeals in the statutory review process as was intended

 8    by Congress in establishing that process.

 9            Thank you, Your Honor.

10                THE COURT:     Thank you.

11            Mr. Freda.

12                MR. FREDA:     Your Honor, thank you again for

13    allowing me to appear today in this matter.

14            I wanted to offer, in light of a very well argued

15    case so far, just a simple solution for the Court and

16    then just one clarification on the exhaustion point, and

17    then I am available for any questions the Court may

18    have.

19            The simple solution, Your Honor, and I can't

20    emphasize this enough, is that plaintiffs' allegations

21    that FINRA is acting ultra vires in this disciplinary

22    proceeding is exactly the type of analysis or the review

23    that Congress invested the Commission with in Section

24    19(e) of the Exchange Act.

25            Section 19(e) states that in a proceeding to review
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 1    an SRO sanction, the Commission reviews it -- must

 2    review, in order to sustain it, must review that the

 3    conduct occurred, it violated the SRO's rule, and most

 4    importantly, that the rule and its application were

 5    consistent with the purposes of the Exchange Act.

 6           So, Congress has vested the Commission with the

 7    authority to determine precisely the claim that is at

 8    issue in this case.        And, so, there is no way that this

 9    claim falls outside of the exclusive review scheme.               In

10    fact, it's exactly within the statutory framework.

11           My clarification is that we agree with the results

12    of the body of FINRA case law.            We agree that they have

13    come out in the -- with the right result.               There was no

14    subject matter jurisdiction in those matters.

15           What we wanted to point out is that there is a

16    distinction between exhaustion and an exclusive review

17    scheme.     The way I have always thought about it is

18    exhaustion is about when you can go to court, and the

19    exclusive review scheme is about where is the

20    appropriate court to bring your claim.              And by confusing

21    the two, I think it lends itself to some confusion in

22    the law.

23           There are different exceptions for exhaustion that

24    apply and there is a different framework that governs,

25    and the one that we provide in our brief I believe
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 1    provides the most simple and most direct way to

 2    determine this case.

 3           If the Court has no questions for me --

 4                THE COURT:     Do you have any comments on what

 5    cause of action we are dealing with here?

 6                MR. FREDA:     We take no position on whether

 7    plaintiffs have stated a cause of action, whether it

 8    would arise under a federal statute sufficient that they

 9    could utilize the 1331 jurisdiction, federal question

10    jurisdiction.

11           I would say that the -- there is no subject matter

12    jurisdiction because 1331 is precluded by the exercise

13    of the exclusive review scheme through the Exchange Act,

14    through Section 25, vesting exclusive jurisdiction in

15    the Court of Appeals.         So the Court really need not get

16    to that question in our view.

17                THE COURT:     I guess it's hard for a trial court

18    -- I mean, I do, I understand I must always check

19    jurisdiction, subject matter jurisdiction before

20    12(b)(6), but it helps to know what the cause of action

21    is in order to evaluate whether I have subject matter

22    jurisdiction.       That's just sort of the way my mind

23    works.

24           I always, I look at a complaint, that's my text, I

25    start there, and I say, All right, do I have it?                 But I
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 1    need to know what it is that I am being asked to do,

 2    and, so, you know, the pleading is important.

 3                MR. FREDA:     No, I understand, Your Honor.          And

 4    I do understand where you are coming from.               It's just

 5    that our -- in our view, it's -- it's irrelevant whether

 6    they would have jurisdiction under a 1331 cause of

 7    action because it would be subsumed by the Section 25 of

 8    the Exchange Act's exclusive grant of jurisdiction to

 9    the Court of Appeals.

10                THE COURT:     The way my mind was working is if

11    there is no cause of action --

12                MR. FREDA:     Right.

13                THE COURT: -- that can be pled, then I don't

14    need to decide if it would be within -- you know, it's

15    cart before the horse and which is the cart?                And that's

16    -- that's where I was -- I --

17                MR. FREDA:     Right.

18                THE COURT:     The cases that sort of prompted

19    some of this thinking are the removal cases where

20    someone sues in the state court claiming they have a

21    state interference with contract or breach of contract

22    or something like that and gets removed to federal

23    court, and they say, not only can't you raise the state

24    cause of action, but there is no federal claim because

25    there is no right, private right of action under
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 1    whatever it is people are complaining about.

 2           And that made me think, then what am I doing?                 What

 3    is this?     What kind of cause of action is being

 4    attempted here?, albeit, obviously, initially here in

 5    federal court rather than having been removed.                   But we

 6    can quibble over that, I suppose.

 7           Okay.    Thank you.

 8                MR. FREDA:     Thank you, Your Honor.

 9                THE COURT:     Mr. Harnisch.

10                MR. HARNISCH:      Thank you, Your Honor.

11           Just -- just a few things I'd like to touch upon in

12    relation to what we just heard over the last few

13    minutes.

14           With respect to the cause of action, just to

15    revisit that a little bit, we do think we fit within the

16    declaratory judgment section of the code.               This is an

17    actual controversy.        FINRA has brought an action against

18    our -- against our clients.           The question is whether

19    they have the legal authority to do so.

20           In the litany of cases that we have heard about and

21    that have been included in our briefs where there have

22    been actions seeking to enjoin disciplinary proceedings,

23    there have been a lot of discussions in the case law

24    about whether they should or should not go forward, but

25    -- but those have not involved raising the question as
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 1    to whether seeking a declaratory judgment, seeking an

 2    injunction was somehow not a proper cause of action.

 3           So, in FINRA's briefs citing the litany of cases

 4    where they say courts have supported their position,

 5    it's not been on those particular grounds.               It's almost

 6    taken as a given that seeking the type of relief is a

 7    federal question, one that is subject to declaratory

 8    judgment that the Court may or may not decide to enter.

 9    So, we think that fits squarely with what we are doing

10    here and that you do have the authority -- excuse me --

11    the authority to rule on this.

12           A couple other things I would just like to point

13    out.    We have heard that the SEC and others have

14    squarely considered some of these types of challenges

15    that we have raised here, and I would respectfully say

16    that's -- that's just not true.            No -- no case that we

17    have been able to find, or that the SEC or that FINRA

18    has put in their briefs, has said that this particular

19    question that we are articulating here has been put

20    before a Court for its consideration.

21           So, the -- the fact that perhaps there have been

22    cases that have gone forward where either FINRA, within

23    its review mechanisms, has upheld sanctions at a

24    disciplinary hearing level, or that FINRA has affirmed

25    those sanctions, nobody has ever analyzed the particular
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 1    issue that we have put before the Court.

 2           So the fact that -- that perhaps those types of

 3    cases have been affirmed in the past is of no particular

 4    moment.     And trying to argue that because nobody has

 5    raised this type of question before so no Court has had

 6    the opportunity to review it somehow precludes us from

 7    raising it now or from you considering it just -- just,

 8    one, doesn't make sense, and is inconsistent with the

 9    law.

10           And I can just cite to a few things or a few

11    instances where the Supreme Court has made that very

12    point.

13           The Supreme Court, in Lexecon v. Milberg Weiss, has

14    said that, The Court's role is to enforce the statute as

15    written even if it reverses the long-standing practice

16    under the statute and any corresponding regulations.

17           The Supreme Court said, in Brown v. Gardner, Age is

18    no anecdote to clear inconsistency with the statute.

19           The Supreme Court said, in Seatrain Lines, An

20    agency may not bootstrap itself into an area in which it

21    has no jurisdiction by repeatedly violating its

22    statutory mandate.

23           So, the fact that perhaps FINRA has been doing this

24    for some period of time and nobody has raised this

25    challenge is of no particular moment as to the right
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 1    thing for this Court to do it.

 2           One of the other things I will just point out is a

 3    case I mentioned earlier, it's in our briefs, it's with

 4    respect to Morgan Keegan, the Morgan Keegan case, where

 5    a customer initiated an arbitration against -- I

 6    shouldn't say customer -- a plaintiff initiated an

 7    arbitration against Morgan Keegan.             Morgan Keegan had no

 8    relationship with this particular party, and said,

 9    therefore, we have never agreed to arbitrate.

10           Morgan Keegan sought relief from the District of

11    Maryland, saying, You need to enjoin this arbitration

12    from going forward.        We have no relationship with

13    respect to this person, and, therefore, we have never

14    agreed to arbitrate claims with this person.                And the

15    District of Maryland upheld that request for an

16    injunction, noting -- noting that there was no need to

17    go forward with the arbitration; that subjecting Morgan

18    Keegan to go through that proceeding was per se

19    irreparable -- irreparable harm.

20           So, I think there is -- is plenty of authority that

21    supports our position.         The fact that there is a review

22    scheme contrary to what FINRA and the SEC are suggesting

23    does not mean that every conceivable claim that FINRA

24    may bring somehow must go through that review scheme.

25           That review scheme only applies, as we say in our
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 1    papers, if the claim -- there is authority to bring the

 2    claim in the first instance.           That review scheme

 3    presupposes that FINRA or the self-regulatory

 4    organization at issue is acting within its statutory

 5    authority.

 6           With -- with all due respect to my colleagues at --

 7    at FINRA, going through various cases where the Courts

 8    have denied requests for an injunctive action, whether

 9    it's respect to Schwab or Hayden or some of the other --

10    some of the other cases mentioned there, they do not and

11    did not involve this question as to whether FINRA had

12    authority in the first instance.            So, we have said,

13    FINRA's grant of authority, and they could only act

14    pursuant to expressed acts of authority, is limited to

15    the Exchange Act and its rules, which can't go further

16    than the Exchange Act.

17           So, the -- the fact that nobody has ever called

18    them on it before is of no particular moment.                And the

19    cases they mentioned, none of those issues about the

20    authority to act and file in the first instance was at

21    issue.

22           Hayden, as you heard, had to do with an argument as

23    to whether the FINRA -- whether you could incorporate

24    the federal five-year statute of limitations.                There is

25    no particular rule.        That's a defense to the conduct
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 1    that's been alleged.         There is no allegation as to

 2    whether FINRA had the authority to issue the types of

 3    charges in that particular case.

 4           With respect to Schwab, what you heard about in

 5    there, if you read through that opinion, there is

 6    actually a dispute as to whether the -- the rule at

 7    issue, as you interpret it, could reach to class action

 8    waivers.     There wasn't an issue as to, you know, whether

 9    there was a rule in place or FINRA had the authority to

10    prosecute actions based upon that rule.

11           Instead, it's a challenge about the contours of

12    that rule, given the particular circumstances of that

13    case, and what that meant and whether certain

14    interpretations might ultimately conflict with the

15    Federal Arbitration Act.

16           The same thing with Pyramid, with respect to those

17    rules there, as to how that would apply to the net

18    capital scheme.       Those are all unique to the particular

19    circumstances in those cases and don't address what is

20    the core fundamental issue, that, was there, is there

21    authority to act in the first instance?              Does FINRA even

22    get out of the gate?         And given the disparate grants of

23    authority to the SEC and to FINRA, we say no.

24           FINRA, in its briefs, doesn't even take issue with

25    -- with how we have laid out the disparate grants of
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 1    authority in 19(h) and 15A.

 2           Instead, it's this reflexive action:             Hey, when

 3    there have been challenges before, we have been

 4    permitted to go forward even though nobody has raised

 5    this argument.       That ought to give you pause for

 6    concern.

 7           So, we think that if you look at the expressed

 8    grants of authority, the only reasonable way to look at

 9    that is Congress had a reason for doing what it did;

10    that they -- that you must presume, a Court must presume

11    that Congress, in using certain types of language for

12    the authority being granted to FINRA, in a different

13    set, and, frankly, more expansive set of statutes given

14    to FINRA -- I'm sorry, given to the SEC to do the same

15    type of thing, that's a distinction with a difference,

16    and would point you back to Fiero Brothers in the Second

17    Circuit that said exactly the same thing.

18           Thank you.

19                MR. MOUNTZ:      Your Honor, may I just make one

20    point?

21                THE COURT:     All right.

22                MR. MOUNTZ:      I believe that most of the issues

23    addressed by Mr. Harnisch have been addressed in the

24    briefs.     I don't intend to address those.

25           There is just one matter that I did want to
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 1    mention, and that is his reliance on Judge Motz's

 2    opinion in the Morgan Keegan case.

 3           The Morgan Keegan case, Your Honor, is an

 4    arbitration case, and there is a -- of course, it's

 5    fundamental under the law that a party cannot be

 6    compelled to arbitrate a dispute unless they have agreed

 7    to arbitrate.       And Morgan Keegan was taking -- took the

 8    position that it had not agreed to arbitrate with the

 9    third party that was seeking to compel it to arbitrate

10    in that case.       So -- so -- and because the Court found

11    that there was no contract, it did enter an injunction

12    providing that it did not -- Morgan Stanley (sic) did

13    not have to submit to arbitration in that case.

14           It has nothing to do, Your Honor, with the

15    exclusive review process under the Securities Exchange

16    Act.    I just wanted -- I just wanted to make that --

17    that clear.

18           I think the other points have been adequately

19    addressed in the parties' briefing.

20           Thank you, Your Honor.

21                THE COURT:     Any other final words?

22                MR. HARNISCH:      If I may?

23                THE COURT:     Go ahead.

24                MR. HARNISCH:      The only point I would make in

25    rebuttal to that is the plaintiffs are members of FINRA.
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 1    Of course, that, what they have agreed to is FINRA

 2    potentially bringing actions that they are authorized to

 3    bring in the first instance.

 4           Nobody could look at the agreement with FINRA,

 5    becoming a FINRA member, where, somehow, we have agreed

 6    for FINRA to do anything beyond the bounds of its

 7    statutory authority.         If they wanted to start handing

 8    out littering tickets when it sees a broker on the

 9    sidewalk on the way to a meeting to say, You have now

10    violated littering laws and have acted unethically, I

11    don't think anybody would be saying that that's

12    something that they have agreed to; nor have -- have our

13    clients agreed to submit the claims, the one expresser

14    causes of action expressly granted to FINRA in the

15    Exchange Act.

16           Thank you.

17                THE COURT:     All right.      I intend to dismiss the

18    plaintiffs' complaint, and, obviously, deny the request

19    for preliminary injunctive relief.

20           The question I think is squarely whether the

21    Exchange Act provides an exclusive avenue for review,

22    and that plaintiffs may not come to this Court as an end

23    run against the process that is underway.

24           Plaintiffs are the respondents, the subjects of an

25    ongoing disciplinary proceeding brought by FINRA under
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 1    its rules.      The question that plaintiffs here want to

 2    raise has been raised expressly in that proceeding, and,

 3    that is, whether some or all of the allegations of

 4    misconduct arise under only the Securities Act and are

 5    beyond the authority of FINRA to attempt to enforce?

 6            The administrative scheme would entail further

 7    hearings before FINRA if dissatisfied with that result.

 8    SEC follows on, and must, for itself, decide the

 9    question, if raised, or maybe even sua sponte, whether

10    what FINRA did was beyond their authority.

11            A party dissatisfied with that result then obtains

12    review in the appropriate Court of Appeals of the

13    circuit either in the District of Columbia or where the

14    respondent resides.

15            I, because of the speed with which we were planning

16    to come into court, I was reading papers as they came in

17    rather than as is perhaps more typical, waiting until

18    they are all briefed and then having them to read all at

19    once.    And when I have that luxury, I often start with

20    the reply and work my way backwards the first time

21    through because that gives me a better clue as to what's

22    really at issue.

23            Obviously, I didn't do that here, but I read the

24    plaintiffs' and then the motion to dismiss, and I kept

25    thinking, There is something wrong with calling this a
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 1    problem of exhaustion of administrative remedies.

 2           Then I got the SEC amicus, and I said, Good, I am

 3    not the first one who has said there is just something

 4    not quite feeling right with calling this exhaustion.

 5           We deal with exhaustion of administrative remedies

 6    when ultimately we are the right forum, or may be, but

 7    the plaintiff must do something beforehand, whether it's

 8    a Title 7, going to the EEO, whether it's a prisoner who

 9    must go through the grievance proceeding, that kind of

10    thing.     So it wasn't quite sitting right to contemplate

11    this as an exhaustion of administrative remedies.

12           And I believe I -- well, I agree with the SEC, that

13    it is more a question of lawyer and in what sequence and

14    under what circumstances judicial review will follow a

15    disciplinary proceeding.

16           I am delighted that my colleague, Judge Grimm, has

17    already charted this path, so to speak, and I have been

18    helped quite a lot in understanding the issue through

19    his most recent Bennett opinion.            I understand it is on

20    appeal to the Fourth Circuit, and we will find out

21    whether he got it right.

22           I do note that the Fourth Circuit has denied

23    expedited treatment of that case, so it's -- we are

24    going to have to wait a little while to find that out.

25           But I do believe that it is discernable, that what
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 1    the plaintiffs want to have reviewed is to be had within

 2    the statutory scheme.

 3           Frankly, I think this case is even less compelling

 4    than those where constitutional challenges are raised.

 5    Here, while plaintiffs strive mightily to make this into

 6    a case of first impression or a significant challenge to

 7    the authority of FINRA to bring these charges, it

 8    doesn't strike me as anything so drastic.

 9           There are lots of defenses people can raise to

10    charges in a variety of forum, and this is one.                  To say

11    that it's beyond their authority to do it, if this were

12    the kind of challenge that could justify evading the

13    normal administrative and judicial statutory scheme, the

14    exceptions would overtake that statutory scheme,

15    frankly.

16           So, I do find that it is clear to me that the --

17    that Congress intended to channel judicial review

18    through this comprehensive scheme.

19           The questions under Thunder Basin and the progeny

20    also support dismissing this.           The action here doesn't

21    fall outside of that review scheme.             Frankly, it's

22    square in the middle of it.

23           The question of whether the rules were properly

24    applied, whether the FINRA rules that are involved here

25    are within their authority and appropriate, are clearly
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 1    within that -- that review scheme.             The meaningful

 2    review can be had in the Court of Appeals, and there are

 3    sometimes people want to avoid district courts and go

 4    right to the Four -- well, in our Circuit, the Fourth

 5    Circuit.     They are clearly the experts in the judicial

 6    arena on this sort of issue, and its meaningful judicial

 7    review is available through that avenue.

 8            The plaintiffs' suit is not wholly collateral to

 9    the review scheme.        It's, again, it's squarely within

10    it.     This one almost dovetails with the first.                I don't

11    think I need to say any more.

12            And the final factor about the Commission's

13    expertise, I think, again, is satisfied here.                Whether

14    there is ultimately statutory interpretation or not,

15    there certainly are aspects of what needs to come before

16    that final question that are within the SEC's expertise.

17    And I think that was amply stated here by the simple

18    solution, I suppose, that Mr. Freda mentioned:                   That it

19    is the SEC's job, and, in this sequential review, to

20    review and determine whether what FINRA has done is

21    consistent with the Exchange Act, and that will inform

22    if not resolve the statutory construction question that

23    the plaintiffs claim is so central to their position

24    here.

25            Having to go through the administrative procedure
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 1    is simply not the kind of problem that I think overcomes

 2    what Congress has set in place for resolving this type

 3    of dispute.

 4           I am, frankly, not inclined to write a fuller

 5    opinion because I think this is, quite frankly, a very

 6    straightforward issue; that it's beyond the subject

 7    matter jurisdiction of this Court to consider the

 8    challenge plaintiffs have raised to the ongoing

 9    disciplinary proceeding.

10           I will mention that I have been raising with

11    counsel all along, I question whether, even if there

12    were some sort of subject matter jurisdiction generally,

13    which, under some statutes, there might be, whether the

14    plaintiffs even have a cause of action that's viable.

15           There are no private rights of action under most of

16    these statutes that are at issue here.              There is not a

17    constitutional claim being raised, as I understand it.

18    And whether challenged or questioned by Courts or not, I

19    would suggest that one of the first steps always needs

20    to be defining what the cause of action is so that you

21    can then properly analyze what Court has jurisdiction

22    over it and at what time and under what circumstances.

23           So, for all of those reasons, I am going to sign an

24    order dismissing the complaint.

25           Copies will go out, of course, electronically as
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 1    soon as I have had a chance to do that.

 2           Is there anything further?           Anybody?    Nope?

 3                MR. HARNISCH:      No.

 4                MR. MOUNTZ:      No, Your Honor.

 5                THE COURT:     All right.      Thank you.

 6           (The proceedings were concluded at 10:36 a.m.)

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 1                         C E R T I F I C A T E

 2

 3                 I, Renee A. Ewing, an Official Court Reporter for

 4    the United States District Court for the District of Maryland,

 5    do hereby certify that the foregoing is a true and correct

 6    transcript of the stenographically reported proceedings taken

 7    on the date and time previously stated in the above matter;

 8    that the testimony of witnesses and statements of the parties

 9    were correctly recorded in machine shorthand by me and

10    thereafter transcribed under my supervision with computer-aided

11    transcription to the best of my ability; and that I am neither

12    of counsel nor kin to any party in said action, nor interested

13    in the outcome thereof.

14

15
                      Renee A. Ewi ng
16
                      Renee A. Ewing, RPR, RMR, CRR
17                    Official Court Reporter
                      May 4, 2016
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